                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION



IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                            MDL No. 2804



                                 (SEE ATTACHED SCHEDULE)



                       CONDITIONAL TRANSFER ORDER (CTO í22)



On December 5, 2017, the Panel transferred 62 civil action(s) to the United States District Court for
the Northern District of Ohio for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See _F.Supp.3d_ (J.P.M.L. 2017). Since that time, 487 additional action(s) have been
transferred to the Northern District of Ohio. With the consent of that court, all such actions have
been assigned to the Honorable Dan A. Polster.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of Ohio and assigned to Judge
Polster.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of Ohio for the reasons stated in the order of December 5, 2017, and, with the
consent of that court, assigned to the Honorable Dan A. Polster.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Ohio. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7íday period, the stay will be continued until further order of the Panel.



                                                      FOR THE PANEL:


                 Apr 18, 2018
                                                      Jeffery N. Lüthi
                                                      Clerk of the Panel
IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                             MDL No. 2804



                 SCHEDULE CTOí22 í TAGíALONG ACTIONS



 DIST     DIV.      C.A.NO.    CASE CAPTION


ALABAMA MIDDLE

 ALM       2        18í00362   Butler County, Alabama v. Purdue Pharma L.P. et al
                               Montgomery County, Alabama v. Purdue Pharma L.P.
 ALM       2        18í00381   et al

ALABAMA NORTHERN

                               City of Guin, Alabama v. Amerisourcebergen Drug
  ALN      6        18í00531   Corporation et al
  ALN      7        18í00462   Green v. WestíWard Pharmaceuticals Corp et al

ALABAMA SOUTHERN

                               American Resources Insurance Company, Inc. v. Purdue
  ALS      1        18í00145   Pharma L.P. et al Opposed 4/17/18

FLORIDA NORTHERN

                               BAY COUNTY FLORIDA v.
  FLN      5        18í00086   AMERISOURCEBERGEN DRUG CORPORATION et
                               al
                               HOLMES COUNTY FLORIDA v.
  FLN      5        18í00087   AMERISOURCEBERGEN DRUG CORPORATION et
                               al

KANSAS

                               Pratt County, Kansas, Board of Commissioners v.
  KS       6        18í01109   Amerisourcebergen Drug Corporation et al
                               Cherokee County, Kansas, Board of Commissioners v.
  KS       6        18í01110   Amerisourcebergen Drug Corporation et al

LOUISIANA EASTERN

                               St. Tammany Parish Coroner's Office et al v. Purdue
  LAE      2        18í03457   Pharma LP et al
       MASSACHUSETTS



                               Town Of Salisbury v. Amerisourcebergen Drug
  MA       1        18í10643   Corporation et al

OKLAHOMA NORTHERN

                               Muscogee (Creek) Nation, The v. Purdue Pharma L.P. et
 OKN       4        18í00180   al

OREGON

  OR       3        18í00520   County of Clackamas et al v. Purdue Pharma, LP et al

TENNESSEE WESTERN

                               Lexington, Tennessee v. Amerisourcebergen Drug
 TNW       1        18í02220   Coropration et al

WEST VIRGINIA NORTHERN

                               POCAHONTAS COUNTY COMMISSION v. Purdue
 WVN       2        18í00034   Pharmaceutical Products, LP et al
                               Morgan County Commission v. Purdue Pharmaceutical
 WVN       3        18í00044   Products, LP et al

WISCONSIN WESTERN

                               Lac du Flambeau Band of Chippewa Indians v.
 WIW       3        18í00228   McKesson Corporation et al

WYOMING

  WY       2        18í00057   Northern Arapaho Tribe v. Purdue Pharma LP et al
